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12
                                  UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
14   CALIFORNIA HOMELESS UNION, et al.,          ) Case No.:
15                                               )
                                                 ) DECLARATION OF JOSÉ ARROYO IN
                   Plaintiffs,
16                                               ) SUPPORT OF PLAINTIFFS’
            vs.                                  ) APPLICATION FOR TEMPORARY
17                                               ) RESTRAINING ORDER AND
18                                               ) PRELIMINARY INJUNCTION
     CITY OF FREMONT,                            )
19                                               )
                   Defendant.                    )
20                                               )
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 1   I, JOSÉ ARROYO, hereby declare:
 2           1.    This declaration is based on my personal knowledge and if called upon as a
 3
     witness in court, I could testify to the truth of the following.
 4
             2.    I am homeless and have lived on the slab in the City of Fremont in Alameda
 5
 6   County for approximately two years.

 7           3.    I am disabled because I cracked my skull when I worked as a master technician. I
8    was on workman’s compensation for 17 years. I also have severe nerve palsy. I cannot work.
 9
             4.    I receive approximately $291 from Calfresh for food. That is all I get in a month.
10
             5.    I sleep in a tent. I have 3 tarps over my tent to keep me warm. I have a mattress
11
12   inside my tent, blankets and a pallet to lift my tent off the ground so it doesn’t flood or get too

13   cold.
14           6.    I want housing. No one from the City of Fremont or the County of Alameda has
15
     come down to the slab to talk to me about housing. I have not received any paperwork or flyers
16
     about resources from anyone.
17
18           7.    The City of Fremont knows we are here because all of us have a big blue trash can

19   like the ones you see in neighborhoods. The City picks up our trash a few times a week.
20           8.    The City of Fremont also put porta potties on the slab for all of the homeless to
21
     use.
22
             9.    We keep our camp very clean since we have trash pickup. We help each other.
23
24           10.   Abode came out one time to talk to us one time about shelter. They talked about

25   the winter shelter and said we had to get on a waiting list. They said we had to qualify. They did
26   not talk to me about shelter again.
27
             11.   Abode does come out to drop off hygiene kits.
28


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 1          12.    Churches are the main groups that visit the camp. They have passed out tents,
 2   blankets, clothing and hygiene products. They come out around 4 times a week to bring food.
 3
            13.    During the rains this year all of my clothes were soaking wet and I was very cold.
 4
     The churches that visit the camp each week gave me clean dry clothes, food and hygiene items. I
 5
 6   cannot work and I do not receive any income so I cannot buy clothing or hygiene items. I don’t

 7   know what I would have done if the churches didn’t bring clothes, food, and other items to the
8    slab where I live.
 9
            14.    The churches bring out a lot of food to the camp and I rely on that to supplement
10
     the food I eat each month. I do go to BACS, I think that is the food bank. I can get meat there
11
12   and other items but when it is raining or the weather is bad, I cannot walk there.

13          15.    I rely on the various groups who bring food and water to the slab because my
14   CalFresh does not go far since I do not have a way to store or refrigerate food. I need extra food
15
     and water otherwise I would go hungry for part of the month.
16
            16.    I know that the City of Fremont passed an ordinance making it illegal for me to
17
18   camp in my tent. I know it’s illegal for me to have my tarps. I am disabled and I do not have

19   income. I cannot camp anywhere in the City of Fremont. I do not know what I am going to do
20   because I rely on the volunteers and the churches that visit my camp on the slab.
21
            17.    I do not have any money to buy anything. I cannot afford to buy extra food, water
22
     or clothes when the weather is really cold or hot. I cannot afford to buy another tent or more
23
24   blankets. I rely on the charity of others to get my survival gear. It is now illegal to have survival

25   gear. I don’t know where I can sleep now that it is illegal to sleep anywhere in Fremont.
26          18.    I don’t want anyone to get arrested for giving me tents or blankets or food. I know
27
     it is illegal to help the homeless in the City of Fremont. I do not want to ask people for help if
28
     they are risking getting arrested I would rather go hungry.

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 1          19.     No one has told me what to do now that being homeless is a crime. No one has
 2   told me who will help me. I do not know where I can get food and water. I don’t want to be
 3
     arrested for having sleeping bags or blankets. I am going to be hungry. I am scared I am going
 4
     to get sick or die.
 5
 6          I declare under penalty of perjury under the laws of the State of California and the United

 7   States that the foregoing is true and correct.
8           Executed on the 28th day of February, 2025, in Fremont, California.
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                                               /s/____________________
11                                                   JOSÉ ARROYO
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